Case 3:21-bk-30327          Doc 18   Filed 05/18/21 Entered 05/18/21 14:05:57     Desc Main
                                     Document Page 1 of 2


This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: May 18, 2021




                               UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION AT DAYTON

IN RE:                                                    CASE NO: 21-30327
    Charles Floyd Salyers                                         (Chapter 13)

                                       Debtor             JUDGE GUY R. HUMPHREY


                     ORDER CONFIRMING CHAPTER 13 PLAN (DOC. 9)
                           AND AWARDING ATTORNEY FEES

This matter is before the Court on the Chapter 13 Plan submitted by the Debtor
including any amendments ("Plan"). Having reviewed the Plan, and noting that any
objections have been withdrawn, resolved or overruled, the Court finds that the Plan
satisfies the requirements of 11 U.S.C. §1325. The Plan is CONFIRMED, subject to the
following:

1. Any stipulations or other orders entered in this case relating to the Plan are
incorporated into this Order.

2. The Debtor shall make monthly payments to the Trustee until the Plan is completed ,
for a period not to exceed sixty (60) months. The monthly payments shall be by payroll
deduction, unless otherwise ordered by the Court or agreed to by the Trustee .
Payments shall be sent to JOHN G. JANSING, CHAPTER 13 TRUSTEE, P.O. BOX
6002, MEMPHIS, TN 38101-6002

3. All property acquired by the Debtor after the commencement of the case and before
the case is closed is within the jurisdiction of the Court.

                                            Page 1 of 2
Case 3:21-bk-30327     Doc 18   Filed 05/18/21 Entered 05/18/21 14:05:57        Desc Main
                                Document Page 2 of 2



4. Except as provided by Local Bankruptcy Rule 6004-1(c)(3), the Debtor shall not sell,
dispose of, or transfer any property without the written approval of the Trustee or order
of the Court. See Local Bankruptcy Rule 6004-1(c) and (d).

5. The Debtor shall fully and timely disclose to the Trustee and file any appropriate
notice, application or motion with the Court in the event of any change of the Debtor 's
address, employment, marital status, or child or spousal support payments.

6. The Debtor shall keep the Trustee informed as to any claim for or receipt of money
or property regarding personal injury, workers compensation, bonuses, buyout,
severance package, lottery winning, inheritance, or any other funds to which the Debtor
may be entitled or becomes entitled to receive. Before the matter can be settled and
any funds distributed, the Debtor shall comply with all requirements for filing
applications or motions for settlement with the Court as may be required by the
Bankruptcy Code, the Bankruptcy Rules or the Local Bankruptcy Rules. The Debtor's
shall also keep the Trustee informed as to any claim for or receipts of social security
funds.

7. The Debtor shall not incur any non-emergency consumer debt, including the
refinancing of real property debt or purchases on credit in excess of $1000, without the
written approval of the Trustee or order of the Court. See Local Bankruptcy Rule
4001-3(b).

8. The stay under 11 U.S.C. §362(a) and, if applicable, 11 U.S.C. §1301(a) is
terminated as to any surrendered property listed in Paragraph 6 of the Plan.

9. THE VIOLATION BY THE DEBTOR OF ANY PROVISIONS OF THIS ORDER OR
THE PLAN MAY RESULT IN DISMISSAL OF THE CASE OR DENIAL OF
DISCHARGE AND OTHER SANCTIONS.

10. Unless otherwise ordered by the Court, the attorney for the Debtor is allowed the
attorney fee set forth in the Disclosure of Compensation of Attorney for Debtor and
Application for Allowance of Fees in Chapter 13 Case (LBR Form 2016-1(b)), provided
the amount requested does not exceed $4,350. See Local Bankruptcy Rule 2016-1(b)
(2)(A) and (B), (the "No Look Fee").

     SO ORDERED.


Copies to:

   All Creditors and Parties In Interest.
